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                         EXHIBIT 7
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                                             INTERVIEW WITH VALENTIN VILLANUEVA FERNANDEZ
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           INTERVIEW WITH VALENTIN VILLANUEVA FERNANDEZ
                         Q=Det. Josh Henderson
                          Q1=Cesar Brockman
                          Q2=Delia Salvatierra
                     A=Valentin Villanueva Fernandez


Q:    Uh, Valentin. I'm Detective                Q:    Uh, Valentin. I'm Detective
      Henderson.                                       Henderson.
Q1:   El detective Henderson.                    Q1:   Detective Henderson.
Q:    Uh - uh, I understand, um, what you're     Q:    Uh - uh, I understand, um, what you're
      going through and, uh - uh, I'm not              going through and, uh - uh, I'm not
      trying to - I'm just trying to make this         trying to - I'm just trying to make this
      as much com- as most comfortable as              as much com- as most comfortable as
      I can for you, okay? You have                    I can for you, okay? You have
      nothing to worry about. Anything said            nothing to worry about. Anything said
      in here stays in here. Not gonna go              in here stays in here. Not gonna go
      out.                                             out.
Q1:   Yo entiendo por lo que estás pasando.      Q1:   I understand what you're going
      Voy a tratar de hacer esto lo más - lo           through. I'm going to try to make this
      más confortable possible. Todo lo que            as - as comfortable as possible.
      se diga en este momento se va a                  Everything that is said at this time is
      quedar aquí. Okay?                               going to stay here. Okay?
A:    Sí.                                        A:    Yes.
Q:    Uh, I'm con- I'm concerned more for,       Q:    Uh, I'm con- I'm concerned more for,
      um - I - I want to - my investigation I          um - I - I want to - my investigation I
      want to go after the owner Frimmel               want to go after the owner Frimmel
      Bret and the management.                         Bret and the management.
Q1:   En - en - en mi investigación yo           Q1:   In - in - in my investigation I want to
      quiero ir, uh, atrás de - de - de Bret           go, uh, behind Bret Frimmel and the
      Frimmel y el manejamiento.                       management.
Q:    So I'm - I'm just - I'm gonna ask you      Q:    So I'm - I'm just - I'm gonna ask you
      some questions just looking for, uh,             some questions just looking for, uh,
      you know, good information that you              you know, good information that you
      can provide. I want you to be honest             can provide. I want you to be honest
      up front, um, and just, uh - yeah, be            up front, um, and just, uh - yeah, be
      honest.                                          honest.
Q1:   Yo - yo - yo te voy a hacer preguntas      Q1:   I - I - I'm going to ask you questions to
      para obtener, uh, información buena              get, uh, good information for - for our


                                                                             TRANSCRIPT-01
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                                                 INTERVIEW WITH VALENTIN VILLANUEVA FERNANDEZ
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      para - para nuestra investigación y                  investigation and I want you to be, uh,
      quiero que seas, uh, honesto.                        honest.
Q:    Okay. Uh, the date's 9-30-2013. Uh,          Q:      Okay. Uh, the date's 9-30-2013. Uh,
      reference DR 13-008988. Uncle                        reference DR 13-008988. Uncle
      Sam's investigation. Uh, present is                  Sam's investigation. Uh, present is
      Valentin Villanueva with his                         Valentin Villanueva with his
      attorney...                                          attorney...
Q2:   Delia Salvatierra.                           Q2:     Delia Salvatierra.
Q:    And also present is County Attorney          Q:      And also present is County Attorney
      Jamie Oliver and Cesar Brockman for                  Jamie Oliver and Cesar Brockman for
      translator. Uh, Valentin, I'm gonna                  translator. Uh, Valentin, I'm gonna
      ask you the first question is, uh, how'd             ask you the first question is, uh, how'd
      you hear about the job with Uncle                    you hear about the job with Uncle
      Sam's?                                               Sam's?
Q1:   La primer pregunta es, uh, ¿cómo -           Q1:     The first question is, uh, how - how
      cómo supiste de- del - del trabajo en                did you find out ab- about - about the
      Uncle Sam’s?                                         job at Uncle Sam's?
A:    Um yo, este, andaba buscando trabajo         A:      Um I, um, was looking for work and
      y en una parada de un bus, ahí le                    at a bus stop, there I asked a - a person
      pregunté a una - a una persona si había              if there was work, if he knew where
      trabajo, si no conocía dónde había                   there was work and he told me, "Eh I
      trabajo y él me dijo, “Eh creo en el                 think at Uncle Sam's. They need
      Uncle Sam’s. Ahí están necesitando”.                 people there."
Q1:   I - I was looking for work and at - at a     Q1:     I - I was looking for work and at - at a
      bus stop I - I asked, uh, a person if                bus stop I - I asked, uh, a person if
      they knew where was - where they                     they knew where was - where they
      were hiring and, uh, he told me, "At,                were hiring and, uh, he told me, "At,
      uh - at Uncle Sam's I think they're                  uh - at Uncle Sam's I think they're
      hiring."                                             hiring."
Q:    A bus stop here in town?                     Q:      A bus stop here in town?
Q1:   ¿En una parada de bus aquí en - aquí         Q1:     At a bus stop here in - here in - in - in
      en - en - en - en el pueblo?                         - in the town?
A:    Sí, aquí.                                    A:      Yes, here.
Q1:   ¿En la ciudad?                               Q1:     In the city?
A:    Sí.                                          A:      Yes.
Q1:   Yes.                                         Q1:     Yes.
Q:    Uh, okay. Um, did this person that           Q:      Uh, okay. Um, did this person that
      you asked or heard about the job also                you asked or heard about the job also
      work there?                                          work there?
Q1:   ¿A esta persona que - que le                 Q1:     This person whom - whom you asked,
      preguntaste, ta- también trabajaba ahí?              al- also worked there?
A:    No.                                          A:      No.
Q:    No. Okay. Um, all right. And then            Q:      No. Okay. Um, all right. And then
      after that what did you do?                          after that what did you do?


                                                                                 TRANSCRIPT-02
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                                                INTERVIEW WITH VALENTIN VILLANUEVA FERNANDEZ
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Q1:   Después de eso, ¿qué hiciste?          Q1:          After that, what did you did?
A:    Um yo fui a ese lugar donde -- me dijo A:           Um I went to that place where -- he
      más o menos dónde estaba el lugar.                  told me more or less where the place
                                                          was.
Q1:   I went to - to this place. Uh, more or      Q1:     I went to - to this place. Uh, more or
      less, uh, he - he told me where this                less, uh, he - he told me where this
      place was.                                          place was.
Q:    And then when you say this place, the       Q:      And then when you say this place, the
      Uncle Sam's was at 32nd Street and                  Uncle Sam's was at 32nd Street and
      Shea, at Union Hill?                                Shea, at Union Hill?
Q1:   Cuando me dices este lugar, ¿e- era el      Q1:     When you tell me this place, w- was it
      Uncle Sam’s de - de, uh, thirty-sec- de             the Uncle Sam's on - on, uh, thirty-
      la 32 a - a calle Shea en Union Hill?               sec- on 32nd on - on Shea street in
                                                          Union Hill?
A:    No, era uno en la 90 ahí.                   A:      No, it was one on 90th there.
Q1:   No. It was the one on 90th Street.          Q1:     No. It was the one on 90th Street.
Q:    Okay. And about, uh, what time was          Q:      Okay. And about, uh, what time was
      this? What year?                                    this? What year?
Q1:   ¿Co- como, uh, qué tiempo era? ¿Qué         Q1:     Li- like, uh, what time was it? What -
      - qué año?                                          what year?
A:    El 2002.                                    A:      In 2002.
Q1:   In 2002.                                    Q1:     In 2002.
Q:    And then when you went there, uh,           Q:      And then when you went there, uh,
      who did you talk to?                                who did you talk to?
Q1:   Cuando fuiste ahí, ¿con quién               Q1:     When you went there, with whom did
      hablaste?                                           you talk?
A:    Uh pues yo llegué y dije -- con, no sé,     A:      Uh well I got there and I said -- with, I
      una persona que -- y me dijo que -- o               don't know, a person who -- and he
      sea, yo llegué y pregunté que si había              told me that -- I mean, I came and I
      trabajo y me dijo - dice, “Sí”.                     asked if there was work and he told -
                                                          tells me, "Yes."
Q1:   I got - I got there and I spoke to a        Q1:     I got - I got there and I spoke to a
      person and asked, uh, if, uh, there was             person and asked, uh, if, uh, there was
      work.                                               work.
Q:    Uh, do you remember who that person         Q:      Uh, do you remember who that person
      was?                                                was?
Q1:   ¿Recuerdas quién - quién era esa            Q1:     Do you remember who - who that
      persona?                                            person was?
A:    No.                                         A:      No.
Q1:   No.                                         Q1:     No.
Q:    Okay. Uh, and then what did they tell       Q:      Okay. Uh, and then what did they tell
      you?                                                you?
Q1:   ¿Qué te dijeron?                            Q1:     What did they tell you?
A:    Me dijeron que sí, que si quería            A:      They told me yes, that if I wanted to


                                                                                TRANSCRIPT-03
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       trabajar que sí había trabajo.                       work, that there was work.
Q1:    They told me, "Yes," if I wanted work        Q1:     They told me, "Yes," if I wanted work
       there is work.                                       there is work.
Q:     And then what did - what happened            Q:      And then what did - what happened
       after that?                                          after that?
Q1:    ¿Y - y qué pasó después de eso?              Q1:     And - and what happened after that?
A:     Ya ahí me dijeron que fuera al otro          A:      Then they told me to come back the
       día.                                                 following day.
Q1:    They told me to come back the next           Q1:     They told me to come back the next
       day.                                                 day.
Q:     Okay. And then, uh, who did you see          Q:      Okay. And then, uh, who did you see
       that day?                                            that day?
Q1:    ¿A - a - a quién viste ese día?              Q1:     Whom did you see that day?
A:     A una persona que trabajaba ahí y,           A:      A person who worked there and, um,
       este, y me dijo -- la persona que yo le              and he told me -- the person I asked if
       pregunté que si había trabajo, me dijo               there was work, he told me yes. And
       que sí. Y ya como le digo, me dijo que               then like I told you, he told me to
       venga al otro día. Fui al otro día y ahí             come back the next day. I went the
       fui y me presenté en la mañana que                   next day and I went there and I
       me dijo que fuera al otro día en la                  showed up in the morning because he
       mañana.                                              told me to go the next day in the
                                                            morning.
Q1:    I - I was told to come back the next         Q1:     I - I was told to come back the next
       day. I came back the next day and, uh                day. I came back the next day and, uh
       - um...                                              - um...
A:     Y ya de ahí, este…                           A:      And then, um…
Q1:    ...talked to the person that told me         Q1:     ...talked to the person that told me
       there was work.                                      there was work.
A:     Ya de ahí, uh, me dijo, “Te voy a dar        A:      …then, uh, he told me, “I'm going to
       trabajo pero no - no aquí, te -- vete a              give you work but not - not here, you -
       otro lugar…                                          - go somewhere else…
Q1:    And then...                                  Q1:     And then...
A:     …para que te enseñes”.                       A:      …to teach yourself”.
Q1:    ...from there on I was told, "I'm gonna      Q1:     ...from there on I was told, "I'm gonna
       give you work but I'm gonna send you                 give you work but I'm gonna send you
       somewhere else so that you can learn."               somewhere else so that you can learn."
Q:     Okay. Uh, did you fill out any               Q:      Okay. Uh, did you fill out any
       paperwork?                                           paperwork?
Q1:    ¿Uh lle- llenastes el papeleo?               Q1:     Uh did you fi- fill out the paperwork?
A:     No.                                          A:      No.
Q1:    No.                                          Q1:     No.
Q:     Uh, did you have to show any kind of         Q:      Uh, did you have to show any kind of
       form of I.D. to work?                                form of I.D. to work?
Q1:    ¿Tu- tuviste que presentar alguna            Q1:     Did you ha- have to present any form


                                                                                  TRANSCRIPT-04
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       forma de identificación para trabajar?              of identification to work?
A:     No.                                           A:    No.
Q:     Uh, this person that you talked to were       Q:    Uh, this person that you talked to were
       they a manager?                                     they a manager?
Q1:    Uh, ¿esta - esta persona con que              Q1:   Uh, this - this person with whom you
       hablaste era un manejador?                          talked was a manager?
A:     Uh yo pienso que sí. No le pregunté,          A:    Uh, I think so. I didn't ask him, you
       you know, si era...                                 know, if he was…
Q1:    I - I think so. I didn't - I didn't ask.      Q1:   I - I think so. I didn't - I didn't ask.
A:     Ni yo le pregunté. Ni me dijo nada.           A:    I didn't ask him. He didn't tell me
       Yo nomás…                                           anything. I just…
Q1:    I didn't ask and he didn't tell me.           Q1:   I didn't ask and he didn't tell me.
Q:     Okay. Uh, Valentin, do you know               Q:    Okay. Uh, Valentin, do you know
       who the, uh, owner is, Bret?                        who the, uh, owner is, Bret?
Q1:    Uh, ¿sabes quién es el - el dueño,            Q1:   Uh, do you know who the - the owner,
       Bret?                                               Bret, is?
A:     Sí - sí, lo he mirado ahí en - en -- él di-   A:    Yeah - yeah, I've seen him there at - at
       dice es el dueño.                                   -- he sa- says he's the owner.
Q1:    Yes. I've seen him. He says he's the          Q1:   Yes. I've seen him. He says he's the
       owner.                                              owner.
Q:     Okay. Uh, did you ever talk to him at         Q:    Okay. Uh, did you ever talk to him at
       all or have any dealings with him?                  all or have any dealings with him?
Q1:    ¿Y nunca hablaste con él, nunca -             Q1:   And you never talked with him, you
       nunca, eh, um, trataste con él?                     never - never, uh, um, dealt with him?
A:     Mmm no, nomás unas dos, tres                  A:    Mmm no, just two, three words but…
       palabras pero…
Q1:    No. Just a few words.                         Q1:   No. Just a few words.
Q:     Uh, okay. Did you ever talk to (Lisa)         Q:    Uh, okay. Did you ever talk to (Lisa)
       or have any kind of, uh - um, contact               or have any kind of, uh - um, contact
       with her?                                           with her?
Q1:    ¿Nunca hablaste con (Lisa) o tuviste,         Q1:   Did you ever talk with (Lisa) or have,
       uh, un tipo de contacto con ella?                   uh, some kind of contact with her?
A:     Sí, ella sí, este, trabaja en - ahí de        A:    Yeah, she does, um, work in - there as
       manejadora.                                         the manager.
Q1:    Yeah. She worked there as the                 Q1:   Yeah. She worked there as the
       manager.                                            manager.
Q:     And...                                        Q:    And...
A:     Y - y ella sí estaba ahí.                     A:    And - and she was there.
Q1:    Yeah. She was there.                          Q1:   Yeah. She was there.
Q:     ...when you say she was there, is she         Q:    ...when you say she was there, is she
       the one that you talked to when you                 the one that you talked to when you
       tried to get the job?                               tried to get the job?
Q1:    Cuando dices que ella estaba ahí, ¿e-         Q1:   When you say that she was there, is s-
       ella es con la que hablaste cuando                  she the one you talked with when you


                                                                                 TRANSCRIPT-05
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       trataste de - de obtener empleo?                     tried to - to get a job?
A:     No.                                          A:      No.
Q1:    No.                                          Q1:     No.
Q:     And then, Valentin, did you, uh - uh,        Q:      And then, Valentin, did you, uh - uh,
       when you got hired at that store what                when you got hired at that store what
       store did you end up working at?                     store did you end up working at?
Q1:    Cuando fuiste contratado, ¿en cuál           Q1:     When you were hired, at what store
       tienda terminaste trabajando?                        did you end up working?
A:     Um como me dijeron que fuera a otro          A:      Um since they told me to go to
       lugar, fui a la 32 y la Shea Boulevard.              another place, I went to 32nd and Shea
       Ahí me - me - me dijeron que me iban                 Boulevard. There they told me - me -
       a treinar, a enseñar.                                me there that they were going to train
                                                            me, teach me.
Q1:    I - I went to 32nd Street and Shea and       Q1:     I - I went to 32nd Street and Shea and
       I was told that I was gonna train there.             I was told that I was gonna train there.
A:     Y ahí estuve como un mes, y luego…           A:      And I was there like a month, and
                                                            then…
Q1:    I was there for about a month.               Q1:     I was there for about a month.
A:     …luego me - me dijeron que fuera a la        A:      …then they told me - me to go to 90th
       90 - 90 calle.                                       - 90th Street.
Q1:    Then I was told to go to 90th Street.        Q1:     Then I was told to go to 90th Street.
Q:     And then how long were you at 90th           Q:      And then how long were you at 90th
       Street?                                              Street?
Q1:    ¿Qué tanto estuviste ahí en la 90 calle?     Q1:     How much were you there at 90th
                                                            street?
A:     Um desde -- en este tiempo - después         A:      Um since -- at this time - after a month
       de un mes me fui a la 90, hasta dos                  I went to 90th, until two years ago
       años pasados que - que ya se - se                    when - when it - it closed.
       cerró.
Q1:    Up until two years ago when it closed.       Q1:     Up until two years ago when it closed.
Q:     And then where'd you go?                     Q:      And then where'd you go?
Q1:    ¿Y luego de ahí pa’ dónde fuistes?           Q1:     And after there, where did you go?
A:     Uh de ahí me dijeron que me fuera a la       A:      Uh from there they told me to go to
       90 - a la 90 - a la 83.                              90th - to 90th - to 83rd.
Q1:    From there I was told to go to 83rd.         Q1:     From there I was told to go to 83rd.
Q:     And what was your job at Uncle               Q:      And what was your job at Uncle
       Sam's?                                               Sam's?
Q1:    ¿Qué era tu título ahí?                      Q1:     What was your job there?
A:     Um trabajaba, um - um, donde ellos           A:      Um I worked, um - um, wherever they
       me dijeran, “Aquí trabaja”.                          told me, "Work here."
Q1:    I - I worked, uh, wherever I was told        Q1:     I - I worked, uh, wherever I was told
       to work.                                             to work.
A:     En la freidora o…                            A:      With the fryer or…
Q1:    ¿En dónde?                                   Q1:     Where?


                                                                                  TRANSCRIPT-06
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A:     Frei- freidora.                           A:      Fry- fryer.
Q1:    Oh, in the fryer.                         Q1:     Oh, in the fryer.
A:     O a veces en los sándwiches, hacer        A:      Or sometimes on the sandwiches,
       sandwiches.                                       making sandwiches.
Q1:    Sometimes in the sandwiches.              Q1:     Sometimes in the sandwiches.
A:     Donde ellos me habían enseñado.           A:      Where they had taught me.
Q1:    Where - where I was - where they          Q1:     Where - where I was - where they
       showed me, where - where I was                    showed me, where - where I was
       trained.                                          trained.
Q:     So a cook? So a cook?                     Q:      So a cook? So a cook?
Q1:    Uh…                                       Q1:     Uh…
A:     Sí.                                       A:      Yes.
Q1:    ¿Así que de - de cocinero?                Q1:     So as - as a cook?
A:     Sí.                                       A:      Yes.
Q:     And then, uh, Valentin, did you, uh -     Q:      And then, uh, Valentin, did you, uh -
       did you ever hear of, uh, any kind of             did you ever hear of, uh, any kind of
       comments about racial comments or,                comments about racial comments or,
       um, legal status, uh, being made by,              um, legal status, uh, being made by,
       um, management or Frimmel or                      um, management or Frimmel or
       (Lisa)?                                           (Lisa)?
Q1:    Uh, ¿alguna vez tú oiste comentarios      Q1:     Uh, did you ever hear any remarks
       que - que haigan hecho, uh, (Lisa),               that - that, uh, (Lisa), Bret or other
       Bret o otros manejadores sobre, um,               managers may have made about, um,
       uh, comentarios, uh, so- sobre                    uh, remarks, uh, abou- about racism,
       racismo, ra- racist o - o - o - o del             ra- racist or - or - or - or the migratory
       estatus migratorio de los empleados?              status of the employees?
A:     Uh sí. (Lisa) decía -- escuchaba que      A:      Uh yes. (Lisa) said -- I heard that she
       decía que - que - que eran unos, um,              said that - that - that they were a bunch
       stinky, apestosos y…                              of, um, stinky, smelly and…
Q1:    Yes. I would - I would hear, uh...        Q1:     Yes. I would - I would hear, uh...
A:     …y ilegales (unintelligible).             A:      …and illegal (unintelligible).
Q1:    ...I would hear, uh, (Lisa) say, "You     Q1:     ...I would hear, uh, (Lisa) say, "You
       stinky illegals."                                 stinky illegals."
A:     Eh nos decía que éramos estúpidos.        A:      Uh she said that we were stupid.
Q1:    (Lisa) said we were stupid. (Lisa)?       Q1:     (Lisa) said we were stupid. (Lisa)?
A:     Sí ella. De - y - y - y cuando            A:      Yes her. Of - and - and - and when
       necesitaban gente, yo escuchaba que               they needed people, I heard that she
       de- decía para todos que - que si                 sa- said for everyone that - that if they
       tenían amigos, que trajeran pa’                   had friends, to bring them to work.
       trabajar.
Q1:    I don't know. I would hear that, um -     Q1:     I don't know. I would hear that, um -
       they would - say if we had friends to             they would - say if we had friends to
       bring them over to work.                          bring them over to work.
Q:     Who would say that?                       Q:      Who would say that?


                                                                               TRANSCRIPT-07
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                                                    INTERVIEW WITH VALENTIN VILLANUEVA FERNANDEZ
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Q1:    ¿Quién decía eso?                              Q1:     Who said that?
A:     Uh (Lisa).                                     A:      Uh (Lisa).
Q1:    (Lisa).                                        Q1:     (Lisa).
Q:     Now, did she speak Spanish?                    Q:      Now, did she speak Spanish?
Q1:    ¿Ella hablaba español?                         Q1:     Did she speak Spanish?
A:     Uh poquito mucho.                              A:      Uh some.
Q1:    A little bit. A little bit.                    Q1:     A little bit. A little bit.
Q:     Would she - when she would tell you            Q:      Would she - when she would tell you
       this, would she say it in Spanish or she               this, would she say it in Spanish or she
       had somebody else tell you?                            had somebody else tell you?
Q1:    Cuando decía esto, ¿ella lo decía en           Q1:     When she said this, would she say it in
       español o - o - o usaba alguien más                    Spanish, or - or - or did she use
       para que les dijera?                                   someone else to tell you all?
A:     Um usaba a otras personas que sabían           A:      Um she used other people who knew
       inglés, les decía.                                     English, she would tell them.
Q1:    She - she would use other people that          Q1:     She - she would use other people that
       knew English.                                          knew English.
Q:     But she - he would see her standing            Q:      But she - he would see her standing
       right next to 'em tell 'em and so forth?               right next to 'em tell 'em and so forth?
Q1:    ¿Tú - tú - tú la veías que le - le decía a     Q1:     Did you - you - you see her tell these
       estas personas…                                        people…
A:     Sí ahí.                                        A:      Yes there.
Q1:    …que hablan inglés?                            Q1:     …who speak English?
A:     Ah en la cocina. Ahí decía ella, le            A:      Ah in the kitchen. There she would
       decía a él y él decía.                                 say, she would tell him and he would
                                                              say it.
Q1:    Yes. Uh, in the kitchen, she would tell        Q1:     Yes. Uh, in the kitchen, she would tell
       him and then he would tell.                            him and then he would tell.
Q:     And would this be other cooks she              Q:      And would this be other cooks she
       would use to translate or managers or                  would use to translate or managers or
       who?                                                   who?
Q1:    ¿E- ella usaba otros cocineros o               Q1:     Did sh- she use other cooks or
       manejadores para traducir?                             managers to translate?
A:     Um, mmm, a veces manejadores o -               A:      Um, mmm, sometimes managers or -
       o…                                                     or…
Q1:    Sometimes managers.                            Q1:     Sometimes managers.
A:     …o - o si alguien sabía de ahí, de la          A:      …or - or if someone from there, from
       cocina, le decía y - y él - y él traducía.             the kitchen knew, she would tell him
                                                              and - and he - and he would translate.
Q1:    Or someone from the kitchen could              Q1:     Or someone from the kitchen could
       translate. She would use them.                         translate. She would use them.
Q:     Uh, would - would Bret ever ask to -           Q:      Uh, would - would Bret ever ask to -
       to go find friends?                                    to go find friends?
Q1:    ¿Bret, uh, nunca les - les decía que -         Q1:     Did Bret, uh, ever tell you all - you all


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       que fueran a encontrar amigos?                        to - to go find friends?
A:     Um una o dos veces.                           A:      Um once or twice.
Q1:    Yeah. About two times.                        Q1:     Yeah. About two times.
A:     A veces sí.                                   A:      Sometimes yeah.
Q1:    Something like that.                          Q1:     Something like that.
Q:     Um - um, when you say two times               Q:      Um - um, when you say two times
       that's pretty specific. Uh, do you                    that's pretty specific. Uh, do you
       remember exactly when, what year or                   remember exactly when, what year or
       anything like that?                                   anything like that?
Q1:    Cuando dices dos veces, um, ¿sabes -          Q1:     When you say twice, um, do you
       te acu- acuerdas específicamente                      know - do you rem- remember
       cuándo fue eso?                                       specifically when that was?
A:     No, no me acuerdo…                            A:      No, I don't remember…
Q1:    No.                                           Q1:     No.
A:     …específicamente.                             A:      …specifically.
Q1:    He doesn't remember.                          Q1:     He doesn't remember.
Q:     Was it at the Peoria Union Hill store         Q:      Was it at the Peoria Union Hill store
       or was it at the 90th Street store? Was               or was it at the 90th Street store? Was
       it at the 32nd Street store?                          it at the 32nd Street store?
Q1:    ¿Fue en la Peoria en - en la - en la          Q1:     Was it on Peoria at - at the - at the
       tienda de la de Peoria en la Union                    store on Peoria on Union Hill? At the -
       Hill? ¿En la - en la de la 32 calle o - o             at the one on 32nd Street or - or what
       cuál tienda?                                          store?
A:     En la 90.                                     A:      On 90th.
Q1:    In 90th Street store.                         Q1:     In 90th Street store.
A:     En - en la 90. Y en la 83 no me               A:      On - on 90th. And on 83rd I don't
       acuerdo, pero recuerdo que en la 90,                  remember, but I remember that on
       sí.                                                   90th, he did.
Q1:    And 83rd, I don't remember, but, um,          Q1:     And 83rd, I don't remember, but, um,
       90- I remember in the 90th Street.                    90- I remember in the 90th Street.
Q2:    Why are you so sure that Bret asked           Q2:     Why are you so sure that Bret asked
       specifically for folks to invite                      specifically for folks to invite
       undocumented people to come work?                     undocumented people to come work?
Q1:    ¿Por - por qué - por qué estás tan            Q1:     Why - why - why are you so sure that
       seguro que Bret, uh, le- les decía a - a              Bret, uh, told, uh, th- the workers that
       los, uh, trabajadores que - que - que el              the - that the -- to tell undocumented
       - que el -- que le dijeran a gente                    people to come work?
       indocumentada que viniera a trabajar?
A:     Uh escuché también decir que porque           A:      Uh I also heard them say that it was
       era la gente que trabajaba más y - y le               because they're the people who work
       pagaban menos. Pues eso es lo que,                    the most and - and they pay them less.
       uh, menos le pagaban.                                 So that’s what, uh, they paid them the
                                                             least.
Q1:    Because those were the people that            Q1:     Because those were the people that


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       worked the most and you could pay                    worked the most and you could pay
       them the least.                                      them the least.
Q:     And would Bret have somebody say             Q:      And would Bret have somebody say
       this - ask you or would he say it?                   this - ask you or would he say it?
Q1:    ¿Y Bret le pedía a alguien más que les       Q1:     And did Bret ask someone else to tell
       dijera esto o él - o él se los decía?                you all this or did he - or did he tell
                                                            you all?
A:     A - a - a veces él decía, “Personas pa’      A:      Some - some - sometimes he would
       trabajar”, en español.                               say, "People to work," in Spanish.
Q1:    Oh, sometimes he would say, "Hey p-          Q1:     Oh, sometimes he would say, "Hey p-
       he would say in Spanish, "I need                     he would say in Spanish, "I need
       people to work." He would say it. ¿Él                people to work." He would say it. He
       decía?                                               would say it?
A:     Sí. Unas dos…                                A:      Yes. About two times…
Q:     Oh, Bret would say it?                       Q:      Oh, Bret would say it?
Q1:    Bret would say it in Spanish.                Q1:     Bret would say it in Spanish.
Q:     Okay.                                        Q:      Okay.
A:     Unas dos veces escuché que decía,            A:      About two times I heard that he would
       dijo…                                                say, he said…
Q1:    A - a couple a times I heard him say it.     Q1:     A - a couple a times I heard him say it.
A:     A los que estábamos trabajando ahí.          A:      To us the people who were working
                                                            there.
Q1:    Mm-hm.                                       Q1:     Mm-hm.
A:     (Nos) decía.                                 A:      He would tell (us).
Q1:    He - he would tell us that we're             Q1:     He - he would tell us that we're
       working there.                                       working there.
Q:     Okay.                                        Q:      Okay.
Q2:    I don't want to prolong this but I do        Q2:     I don't want to prolong this but I do
       want to go back to one thing that is                 want to go back to one thing that is
       important and that is, um - um...                    important and that is, um - um...
Q1:    Dice que no quiere hacer esta                Q1:     She says she doesn't want to make this
       entrevista más larga, pero…                          interview longer, but…
Q2:    ...um...                                     Q2:     ...um...
Q1:    …quiere, um, decir algo.                     Q1:     …she wants, um, to say something.
A:     Mm-hm.                                       A:      Mm-hm.
Q2:    ...when you were - when you were             Q2:     ...when you were - when you were
       hired, um...                                         hired, um...
Q1:    Cuando fuiste contratado…                    Q1:     When you were hired…
Q2:    ...what paperwork did you fill out?          Q2:     ...what paperwork did you fill out?
Q1:    …¿qué - qué papeleo llenaste?                Q1:     …what - what paperwork did you fill
                                                            out?
A:     Yo no llené papel. Nomás me dijeron,         A:      I didn't fill out paper. They just told
       “Pon tu nombre”.                                     me, "Put your name."
Q1:    I did not fill out any paperwork. They       Q1:     I did not fill out any paperwork. They


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       just told me to write my name.                       just told me to write my name.
A:     Y pues me puse mi nombre y ya.               A:      And so I put my name and that was it.
Q1:    I wrote my name.                             Q1:     I wrote my name.
Q2:    ¿Presentaste a -- um, did you present,       Q2:     Did you present a -- um, did you
       uh, any sort of I.D. or Social Security?             present, uh, any sort of I.D. or Social
                                                            Security?
Q1:    ¿Presentaste una forma de                    Q1:     Did you present a form of
       identificación o seguro social?                      identification or social security?
A:     No.                                          A:      No.
Q1:    No.                                          Q1:     No.
Q:     When you said, "Write your name,"            Q:      When you said, "Write your name,"
       did you sign your name or just write                 did you sign your name or just write
       it?                                                  it?
Q1:    ¿Cuando dijiste, uh, “Puse mi                Q1:     When you said, uh, "I put my name,"
       nombre”, um, nomás escribiste o                      um, did you just write it or did you
       firmaste?                                            sign?
A:     No, pues yo nomás escribí.                   A:      No, I just wrote it.
Q1:    No. I just wrote it.                         Q1:     No. I just wrote it.
Q:     Did you ever have a food handler's           Q:      Did you ever have a food handler's
       card?                                                card?
Q1:    ¿Tienes, uh, esa tarjeta para poder          Q1:     Do you have, uh, that card to be able
       manejar comida?                                      to handle food?
A:     No.                                          A:      No.
Q1:    No.                                          Q1:     No.
Q2:    You never had a food handler's card?         Q2:     You never had a food handler's card?
Q1:    ¿Nunca tuviste una tarjeta para              Q1:     Did you ever have a card to handle
       manejar comida?                                      food?
A:     Sí, tuve…                                    A:      Yeah, I had…
Q1:    Yes, I had one.                              Q1:     Yes, I had one.
A:     …una un tiempo cuando…                       A:      …one at the time when…
Q1:    I had one some time.                         Q1:     I had one some time.
A:     …cuando las daban cuando iba a - a           A:      …when they gave them out when I
       pedir, el - la tarjeta, pero después ya              went to - to ask for the - the card, but
       no las dan.                                          afterward, they don't give them out
                                                            anymore.
Q1:    I had it at the time when - when we -     Q1:        I had it at the time when - when we -
       when one can go ask for the card but                 when one can go ask for the card but
       now - but afterwards they wouldn't                   now - but afterwards they wouldn't
       give me no more.                                     give me no more.
A:     Ahorita es -- la tarjeta -- el dueño dijo A:         Now it's -- the card -- the owner said
       que no - no había problema por la                    that there was no - no problem with
       tarjeta.                                             the card.
Q1:    For now the - the owner said there's no Q1:          For now the - the owner said there's no
       problem with the card.                               problem with the card.


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Q:     Okay. Just so that - that I'm clear and       Q:      Okay. Just so that - that I'm clear and
       that I understand correctly.                          that I understand correctly.
Q1:    Para - para yo poder - para - para yo         Q1:     In order - in order for me to be able -
       poder entender claramente…                            to - to be able to understand clearly…
Q:     Uh, when did you first have the food          Q:      Uh, when did you first have the food
       handler's card and how long did you                   handler's card and how long did you
       have it till?                                         have it till?
Q1:    …¿cuán- cuándo fue que tuvistes, uh -         Q1:     …whe- when was it that you had, uh -
       uh, tarjeta pa’ poder manejar comida y                uh, a card to be able to handle food
       - y has- y hasta cuándo?                              and - and un- and until when?
A:     Uh desde el 2002 cuando entré.                A:      Uh since 2002 when I started.
Q1:    2002 when I started.                          Q1:     2002 when I started.
A:     Y después creo que caducó a los dos -         A:      And then I think it expired after two -
       dos, tres años.                                       two, three years.
Q1:    And it expired in - in two, three years.      Q1:     And it expired in - in two, three years.
A:     Después fui otra vuelta a hacer el - el -     A:      Then I went back again to do the - the
       el test.                                              - the test.
Q1:    And then I - I went back to do the test.      Q1:     And then I - I went back to do the test.
A:     Y me dieron otra.                             A:      And they gave me another one.
Q1:    And they gave me another one.                 Q1:     And they gave me another one.
A:     Y ya después ahorita como no sé, dos,         A:      And then now like, I don't know, two,
       tres años que ya no las dan. Ya - ya no               three years that they don't give them
       - ya no tengo tarjeta, ya no.                         out anymore. Now - now I don't - now
                                                             I don’t have a card, not anymore.
Q1:    Yeah. Up until two, three years ago.          Q1:     Yeah. Up until two, three years ago.
       They don't - they don't give 'em                      They don't - they don't give 'em
       anymore and I don't have one.                         anymore and I don't have one.
A:     Porque piden licencia.                        A:      Because they ask for a license.
Q1:    Because they ask for a license.               Q1:     Because they ask for a license.
A:     Y - y yo no tengo.                            A:      And - and I don't have one.
Q1:    And I don't have one.                         Q1:     And I don't have one.
Q:     And did you tell (Lisa) or Frimmel            Q:      And did you tell (Lisa) or Frimmel
       that you don't have a food handler's                  that you don't have a food handler's
       card?                                                 card?
Q1:    ¿Le dijiste a (Lisa) o a Bret que no -- o     Q1:     Did you tell (Lisa) or Bret that you
       (Frimmel)…                                            don't -- or (Frimmel)…
A:     (Unintelligible).                             A:      (Unintelligible).
Q1:    …que no tienes una tarjeta pa’                Q1:     …that you don't have a card to handle
       mamejar comida?                                       food?
A:     Sí, correcto.                                 A:      Yes, that's right.
Q1:    Yes. Correct.                                 Q1:     Yes. Correct.
Q:     What - what did they say and who said         Q:      What - what did they say and who said
       it?                                                   it?
Q1:    ¿Qué - qué - qué - qué te dijeron y - y       Q1:     What - what - what - what did they tell


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       quién te dijo?                                    you and - and who told you?
A:     Uh (Lisa) y Bret sabían. Dijeron que        A:    Uh, (Lisa) and Bret knew. They said
       no había problema.                                that it wasn't a problem.
Q1:    (Lisa) and Bret knew - uh, knew and,        Q1:   (Lisa) and Bret knew - uh, knew and,
       uh, they said there was no problem.               uh, they said there was no problem.
Q:     They knew because you told them?            Q:    They knew because you told them?
Q1:    ¿Ellos sabían porque tú le dijiste?         Q1:   Did they know because you told him?
A:     Sí, yo les dije que no podía sacar          A:    Yes, I told them that I couldn't get a
       tarjeta.                                          card.
Q1:    Yes, I told them I couldn't, uh - I         Q1:   Yes, I told them I couldn't, uh - I
       couldn't, uh, obtain a card.                      couldn't, uh, obtain a card.
Q:     Okay. Do you have any questions?            Q:    Okay. Do you have any questions?
Q2:    Did you refer anybody that you knew,        Q2:   Did you refer anybody that you knew,
       um, personally to work at the                     um, personally to work at the
       restaurant?                                       restaurant?
Q1:    Uh, ¿tú - tú referiste a alguien, ah, que   Q1:   Uh, did you - you refer anyone, uh,
       tú conocías personalmente pa’ trabajar            that you knew personally to work at
       en el restaurant?                                 the restaurant?
A:     No.                                         A:    No.
Q1:    No.                                         Q1:   No.
Q2:    And did you know your brother-in-law        Q2:   And did you know your brother-in-law
       when you started working there or did             when you started working there or did
       that relationship come after you                  that relationship come after you
       started working there?                            started working there?
A:     No.                                         A:    No.
Q1:    ¿Tú - tú ya conocías a - a - a tu cuñado    Q1:   Did you - you already know your
       o - o esa relación ya empezó…                     brother-in-law or - or did that
                                                         relationship begin…
A:     (Ella lo)…                                  A:    (She)…
Q1:    …hasta después?                             Q1:   …until afterward?
A:     Ahí, después.                               A:    That, afterward.
Q1:    After- afterwards. Yeah.                    Q1:   After- afterwards. Yeah.
A:     Yeah.                                       A:    Yeah.
Q:     You knew - you knew your brother-in-        Q:    You knew - you knew your brother-in-
       law after - you worked there before               law after - you worked there before
       him or he worked there before you?                him or he worked there before you?
Q1:    ¿Quién trabajó - quién trabajó ahí          Q1:   Who worked - who worked there first?
       primero? ¿Tú o tu cuñado?                         You or your brother-in-law?
A:     No, cuando yo entré, él estaba ahí          A:    No, when I started, he was working
       trabajando ya.                                    there already.
Q1:    When - when I started he was already        Q1:   When - when I started he was already
       working.                                          working.
Q2:    You never provided a Social Security        Q2:   You never provided a Social Security
       number to the restaurant?                         number to the restaurant?


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Q1:    ¿Tú - tú - tú nunca le - le diste un         Q1:   Did you - you - you ever give the - the
       seguro social al - al restaurant?                  restaurant a social security?
A:     No.                                          A:    No.
Q2:    What did they tell you about that?           Q2:   What did they tell you about that?
Q1:    ¿Y qué - y qué te dijeron sobre eso?         Q1:   And what - and what did they tell you
                                                          about that?
A:     Mmm no, ellos nomás me dijeron que           A:    Mmm no, they just told me that there
       no había problemas y ya.                           was no problem and that was it.
Q1:    Uh, they told us, "No problem."              Q1:   Uh, they told us, "No problem."
A:     Y que, “Si tienes ganas de trabajar es       A:    And that, "If you want to work, that's
       todo”.                                             it."
Q1:    (Unintelligible), you know, and that's       Q1:   (Unintelligible), you know, and that's
       all.                                               all.
Q2:    And did they give you your earnings          Q2:   And did they give you your earnings
       statements every year or W2 with your              statements every year or W2 with your
       taxes?                                             taxes?
Q1:    ¿Te - te daban el - el - el récord de - de   Q1:   Did they give you - you the - the - the
       tus ganancias cada año? ¿Los - las                 record of - of your earnings every
       reformas de los taxes? ¿Los talones de             year? The - the tax reforms? The
       cheque?                                            check stubs?
A:     Sí, me daban - me - me daban un              A:    Yeah, they gave me - they gave me -
       papel en fin de año.                               me a paper at the end of the year.
Q1:    Yes. I would get a paper at the end of       Q1:   Yes. I would get a paper at the end of
       the year.                                          the year.
Q:     How did they pay you each week or            Q:    How did they pay you each week or
       two weeks?                                         two weeks?
Q1:    ¿Có- cómo te pagaban? ¿Uh, semana o          Q1:   Ho- how did they pay you? Uh,
       cada quincena?                                     weekly or every fifteen days?
A:     Uh primero era -- cuando - cuando            A:    Uh at first it was -- when - when I
       empec,é era como cada semana y                     started, it was like every week and
       después, um, como a los cuatro, cinco              then, um, like four, five years later,
       años, ya dos, cada dos semanas.                    then two, every two weeks.
Q1:    When - when I started it was every           Q1:   When - when I started it was every
       week and at four or five years it was,             week and at four or five years it was,
       uh, every other week.                              uh, every other week.
Q:     Was it cash, check?                          Q:    Was it cash, check?
Q1:    ¿Era, eh, en efectivo o en cheque?           Q1:   Was it, uh, in cash or check?
A:     En cheque.                                   A:    Check.
Q1:    Check.                                       Q1:   Check.
Q:     And then, uh, how did you cash the           Q:    And then, uh, how did you cash the
       check?                                             check?
Q1:    ¿Y - y - y cómo ferias el cheque?            Q1:   And - and - and how did you cash the
                                                          check?
A:     Uh en - en el Check PLS.                     A:    Uh in - in the Check PLS.


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Q1:    ¿Dónde?                                        Q1:     Where?
A:     Check PLS. PLS Check.                          A:      Check PLS. PLS Check
Q2:    It's a store. It's a check store for check     Q2:     It's a store. It's a check store for check
       payments.                                              payments.
Q1:    A check - check payments.                      Q1:     A check - check payments.
A:     Ajá (unintelligible) PLS.                      A:      Uh-huh, (unintelligible) PLS
Q:     (Check Pay Less)?                              Q:      (Check Pay Less)?
Q2:    Check P- I'm sorry. Check PLS.                 Q2:     Check P- I'm sorry. Check PLS.
Q1:    Oh, Check PLS.                                 Q1:     Oh, Check PLS.
Q2:    PLS.                                           Q2:     PLS.
Q1:    Oh, Check PLS. Yeah.                           Q1:     Oh, Check PLS. Yeah.
Q:     Check PLS.                                     Q:      Check PLS.
A:     Con - con - con mi ID de México ahí.           A:      With - with - with my ID from Mexico
                                                              there.
Q1:    With my Mexico I.D.                            Q1:     With my Mexico I.D.
Q:     Okay. Did, uh...                               Q:      Okay. Did, uh...
Q2:    May I ask this without, um - um, how           Q2:     May I ask this without, um - um, how
       did they tell you - I'm trying to -                    did they tell you - I'm trying to -
       (unintelligible) question.                             (unintelligible) question.
Q:     Yeah.                                          Q:      Yeah.
Q2:    Go ahead.                                      Q2:     Go ahead.
A:     Pues escuchaba que también (Lisa)              A:      Well I heard that also (Lisa) said…
       decía…
Q1:    I would hear (Lisa) say...                     Q1:     I would hear (Lisa) say...
A:     …que - que le iba a llamar a - a los           A:      …that - that she was going to call the
       sheriffs pa’ que nos arrestaran…                       sheriffs to arrest us…
Q1:    ...that - that she was gonna call...           Q1:     ...that - that she was gonna call...
A:     …y se burlaba.                                 A:      …and she made jokes.
Q1:    ...that she was gonna call the sheriffs        Q1:     ...that she was gonna call the sheriffs
       to come and arrest him and she would                   to come and arrest him and she would
       make fun of him.                                       make fun of him.
Q:     Why would she - why would she say              Q:      Why would she - why would she say
       that?                                                  that?
Q1:    ¿Por qué decía eso?                            Q1:     Why did she say that?
A:     Y pero - pero porque ellos saben que           A:      And but - but because they know that
       uno es -- no tiene papeles.                            one is -- one doesn’t have papers.
Q1:    I - I believe because they know that           Q1:     I - I believe because they know that
       we don't have papers.                                  we don't have papers.
Q:     Okay. Would - would - did you do               Q:      Okay. Would - would - did you do
       something wrong? Why would she -                       something wrong? Why would she -
       why would she just say that?                           why would she just say that?
Q1:    ¿Hi- hi- hiciste algo mal o por qué            Q1:     Did you d- d- do something wrong or
       decía eso?                                             why did she say that?
A:     Nomás para -- nos decía por decirnos,          A:      Just to -- she told us just to tell us, to


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                                                INTERVIEW WITH VALENTIN VILLANUEVA FERNANDEZ
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       para intimidarnos yo pienso.                       intimidate us I think.
Q1:    Just she'd say it I believe to intimidate    Q1:   Just she'd say it I believe to intimidate
       us.                                                us.
Q:     Just to do it or because you guys            Q:    Just to do it or because you guys
       weren't doing something right?                     weren't doing something right?
Q1:    ¿Nomás por decirlo o - o - o porque no       Q1:   Just to say it or - or - or because no --
       -- o porque estaban haciendo algo                  or because you were doing something
       mal?                                               wrong?
A:     No, nomás por decirlo.                       A:    No, just to say it.
Q1:    Just to do it.                               Q1:   Just to do it.
Q2:    Did you ever hear Bret say stuff like        Q2:   Did you ever hear Bret say stuff like
       that?                                              that?
Q1:    ¿Alguna vez oiste a Bret decir cosas         Q1:   Did you ever hear Bret say things like
       así?                                               that?
A:     Bret nomás decía -- escuchaba que,           A:    Bret just said -- I heard that, "Move,
       “Muévanse, les voy a patear el culo”.              I'm going to kick your asses."
Q1:    "Move or I'm gonna kick your ass."           Q1:   "Move or I'm gonna kick your ass."
Q:     Bret would say that?                         Q:    Bret would say that?
Q1:    Bret. Mm-hm.                                 Q1:   Bret. Mm-hm.
Q2:    Did you ever hear Bret say anything          Q2:   Did you ever hear Bret say anything
       that specifically that he knew that you            that specifically that he knew that you
       were undocumented?                                 were undocumented?
Q1:    ¿Alguna vez, eh, oíste a Bret decir          Q1:   Did you ever, eh, hear Bret say
       algo, uh, que - que él - él - él - él daba         something, uh, that - that he - he - he -
       a saber que él sabía que esta- son                 he made it known that he knew that
       indocumentados?                                    you wer- you all are undocumented?
A:     Uh pues, yo pienso que sí, porque            A:    Uh well, I think so, because he said to
       decía que - que trajéramos personas                - to us to bring some people to work.
       pa’ trabajar. No le importaba su - su -            He didn't care about their - their - their
       su estatus.                                        status.
Q1:    I believe so because he would tell us        Q1:   I believe so because he would tell us
       to bring people to work or - and - and             to bring people to work or - and - and
       didn't care about their status.                    didn't care about their status.
Q:     He would say that he didn't care about       Q:    He would say that he didn't care about
       their status?                                      their status?
Q1:    ¿Él decía que no - no - no importaba         Q1:   Did he say that he didn't - didn't -
       su estatus?                                        didn't care about their status?
A:     Sí.                                          A:    Yes.
Q1:    Yeah.                                        Q1:   Yeah.
Q:     Do you know if Bret ever, uh, said he        Q:    Do you know if Bret ever, uh, said he
       knows, um, where they could like get               knows, um, where they could like get
       paperwork or I.D.s or anything like                paperwork or I.D.s or anything like
       that?                                              that?
Q1:    ¿Nunca supiste que si -- o llegaste a        Q1:   Did you ever find out if -- or did you


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       oír a Bret decir que él sabía dónde                ever hear Bret say that he knew where
       podían obtener, uh, ident- papeles o               you all could get, uh, ident- papers or
       identificaciones?                                  identifications?
A:     No.                                        A:      No.
Q:     Would (Lisa) ever say anything like        Q:      Would (Lisa) ever say anything like
       that?                                              that?
Q1:    ¿(Lisa) nunca decía cosas así?             Q1:     Did (Lisa) ever say things like that?
A:     Uh no (unintelligible) pues no me          A:      Uh no (unintelligible) well I don't
       acuerdo, no - no. Nomás decía que -                remember, no - no. She just said to - to
       que lleváramos gente pa’ trabajar.                 bring people to work.
Q1:    No. She would just tell us to bring        Q1:     No. She would just tell us to bring
       people to work.                                    people to work.
Q:     What about any of the other                Q:      What about any of the other
       employees or managers? Would they                  employees or managers? Would they
       say something, "Hey, well, I know                  say something, "Hey, well, I know
       where you can go get a Social Security             where you can go get a Social Security
       card or I.D."?                                     card or I.D."?
Q1:    ¿Quizá otros de los - otros empleados      Q1:     Did you maybe, uh, ev- ever - ever
       o manejadores, uh, nu- nunca - nunca               hear other - other employees or
       los oíste decir que ellos sabían de una            managers say that they knew about a
       parte donde puedes ir a conseguir un -             place where you could go to get an -
       un ID, un- una - un seguro?                        an ID, a - a - a social security?
A:     No.                                        A:      No.
Q:     It's okay if you don't remember their      Q:      It's okay if you don't remember their
       name, but if you just heard that.                  name, but if you just heard that.
Q1:    Está bien si no recuerdas el nombre,       Q1:     It's all right if you don't remember the
       ¿pero sí a- a- alguna vez has oído eso?            name, but have you e- e- ever heard
                                                          that?
A:     Pues me acuerdo, uh, de un- uno que        A:      Well I remember, uh, o- one who said
       decía -- que trabajaba ahí que sí.                 -- who worked there who did.
Q1:    I remember one that worked there.          Q1:     I remember one that worked there.
A:     Pero no, no sé, no dijo. No hablé con      A:      But no, I don't know, he didn't say. I
       él.                                                didn't talk with him.
Q1:    He - but he - he didn't say...             Q1:     He - but he - he didn't say...
Q2:    I’m sorry, tienes que hablar. Yo no te     Q2:     I'm sorry, you have to talk. I don't
       entiendo. Tienes que hablar.                       understand you. You have to talk.
Q1:    No - no puedo entender lo que -- ¿qué      Q1:     I can't - can't understand what -- what
       - qué - qué quisiste decir con eso?                - what - what did you mean by that?
Q2:    I - I didn't understand what he said.      Q2:     I - I didn't understand what he said.
A:     ¿Cómo es - es - es del -- la pregunta      A:      What is - is - is about the -- what was
       cómo fue del…?                                     the question about the…?
Q1:    Si - si un - un manejador o otro           Q1:     If - if a - a manager or another
       empleado de ahí alguna vez dijo que                employee there ever said that they
       ellos sabían dónde se podía conseguir              knew where one could get a, uh, a


                                                                                TRANSCRIPT-17
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        una, uh, un seguro o una                         social security or an identification.
        identificación.
 A:     Pues um, sí escuché que de- decían         A:    Well um, I did hear that they sa- said
        que sí sabían, pero yo no…                       that they did know, but I don't…
 Q1:    Yes. I heard that - that...                Q1:   Yes. I heard that - that...
 A:     Pe- pero no, no sé dónde. No- no- no-      A:    Bu- but no, I don't know where. I ju-
        nomás escuché eso, que sabían pero               ju- ju- just heard that, that they knew
        no sé dónde.                                     but I don't know where.
 Q1:    Okay. I - I heard that they - that they    Q1:   Okay. I - I heard that they - that they
        knew - they knew of it but - but didn't          knew - they knew of it but - but didn't
        know where.                                      know where.
 Q2:    Can you ask him did the managers           Q2:   Can you ask him did the managers
        ever facilitate the obtaining the false          ever facilitate the obtaining the false
        documents from a different - from a              documents from a different - from a
        location somewhere?                              location somewhere?
 Q1:    ¿Uno de los manejadores -- e- ellos,       Q1:   Did one of the managers -- did th-
        por decir, ellos los aconsejaban que             they, let's just say, did they advise you
        fueran a obtener, uh, documentos?                all to go to get, uh, documents?
 A:     No, yo cuando -- no sé, cuando yo          A:    No, when I -- I don't know, when I
        entré, es como le dije. No, nomás traía          started, it's like I said. No, I just had a
        papel yo para mí y luego demás                   paper for me and then other
        (unintelligible).                                (unintelligible).
 Q1:    Okay. I mean like when I - when I          Q1:   Okay. I mean like when I - when I
        started they didn't ask me for anything.         started they didn't ask me for anything.
 Q:     Okay. All right. Um...                     Q:    Okay. All right. Um...
 Q2:    That's all I have.                         Q2:   That's all I have.
 Q:     Okay. Okay. Uh, time is 5:25, going        Q:    Okay. Okay. Uh, time is 5:25, going
        off tape.                                        off tape.


This transcript has been reviewed with the audio recording submitted and it is an accurate
transcription.
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                                                                               TRANSCRIPT-18
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            INTERVIEW WITH VALENTIN VILLANUEVA FERNANDEZ
                          Q=Det. Josh Henderson
                           Q1=Cesar Brockman
                           Q2=Delia Salvatierra
                      A=Valentín Villanueva Fernández


Q:     Go ahead.                                     Q:      Go ahead.
A:     Sorry, because...                             A:      Sorry, because...
Q:     It’s okay.                                    Q:      It’s okay.
A:     Sorry. Hace como siete meses…                 A:      Sorry. Like seven months ago…
Q1:    About seven months ago.                       Q1:     About seven months ago.
A:     …que agarraron a uno - a un                   A:      …a - a coworker was caught .
       compañero.
Q1:    Uh, a coworker was caught.                    Q1:     Uh, a coworker was caught.
A:     Por- porque creo que estaba usando un         A:      Be- because I think he was using
       seguro.                                               social security.
Q1:    Because, uh, I believe he was using,          Q1:     Because, uh, I believe he was using,
       uh, social security.                                  uh, social security.
A:     Eh llegó un oficial.                          A:      Uh an officer came.
Q1:    Uh, an officer arrived...                     Q1:     Uh, an officer arrived...
A:     Y - y lo arrestó…                             A:      And - and he arrested him…
Q1:    ...and arrested him.                          Q1:     ...and arrested him.
A:     …ahí. Y nosotros le - le - le - le            A:      …there. And we asked (Lisa) and
       hicimos el comentario a - a (Lisa) y a                other managers, what was going to
       otro managers, que qué iba a pasar con                happen with us because, uh, they
       nosotros porque, eh, prácticamente                    practically knew that we were illegal.
       sabían que éramos ilegales.
Q1:    And we - we brought, uh, we brought           Q1:     And we - we brought, uh, we brought
       it to the attention of - of - we ask - we             it to the attention of - of - we ask - we
       asked (Lisa) and the other managers                   asked (Lisa) and the other managers
       what was goin’ to happen with us                      what was goin’ to happen with us
       because, uh, you know, because we                     because, uh, you know, because we
       were illegal.                                         were illegal.
A:     Eh y ellos nos dije- nos dijeron que no       A:      Uh and they to- told us - us not to
       nos preocupáramos, que no iba a pasar                 worry, that nothing was going to
       nada.                                                 happen.
Q1:    They told us not to worry about it.           Q1:     They told us not to worry about it.
       Nothing’s goin’ to happen.                            Nothing’s goin’ to happen.

                                                                                   TRANSCRIPT-19
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A:     Y como a los seis meses, eh…                  A:      And like six months later, uh…
Q1:    And about six - about six months...           Q1:     And about six - about six months...
A:     Eh o sea, llegó un - una que checa la         A:      Uh so, a - a woman who checks the
       comida.                                               food came.
Q1:    ¿Hace seis meses?                             Q1:     Six months ago?
A:     Como seis…                                    A:      Like six…
Q1:    About...                                      Q1:     About...
A:     …ocho meses, (I don’t know).                  A:      …eight months, (I don't know).
Q1:    About six - six or eight months ago,          Q1:     About six - six or eight months ago,
       uh...                                                 uh...
A:     Una de las que checan la comida --            A:      One of the ones who check the food –
       ¿có- cómo se dice?                                    wh- what's it called?
Q1:    ¿Las cartas?                                  Q1:     The menus?
A:     Sí, las que checan la comida.                 A:      Yeah, the ones who check the food.
Q2:    Health inspector?                             Q2:     Health inspector?
A:     Sí…                                           A:      Yeah…
Q1:    Uh...                                         Q1:     Uh...
A:     …un health inspector.                         A:      …a health inspector.
Q1:    Uh, uh, that the health inspector...          Q1:     Uh, uh, that the health inspector...
A:     Uh y llegó y - y…                             A:      Uh and she came and - and…
Q1:    ...showed up.                                 Q1:     ...showed up.
A:     …y me - y le dijo a - a Bret, le dijo…        A:      …and - and she told Bret, she told
                                                             him…
Q1:    And - and told Bret...                        Q1:     And - and told Bret...
A:     …que - que - que no teníamos la               A:      …that - that - that we didn't have the
       tarjeta de la comida.                                 food card.
Q1:    ...that we didn’t have food handler           Q1:     ...that we didn’t have food handler
       cards.                                                cards.
A:     Que la necesitaba.                            A:      That I needed it.
Q1:    And that we - and that we needed              Q1:     And that we - and that we needed
       them.                                                 them.
A:     Entonces Bret le dijo a (Lisa) que -          A:      So Bret told (Lisa) that - that there
       que no había problema, que - que no --                was no problem, that - that no --
       que…                                                  that…
Q1:    And - and Bret told (Lisa) there’s no         Q1:     And - and Bret told (Lisa) there’s no
       problem.                                              problem.
A:     …que, “I don’t care”. Que no - no             A:      …that, “I don't care.” That there was
       había problema.                                       no - no problem.
Q1:    I don’t care - there’s no problem.            Q1:     I don’t care - there’s no problem.
A:     Y las tarjetas vencidas la - la -- (Lisa)     A:      And the expired cards the - the --
       las cortó y las tiró a la basura.                     (Lisa) cut and threw them in the trash.
Q1:    And - and then the expired cards -            Q1:     And - and then the expired cards -
       (Lisa) took them, cut them up, and                    (Lisa) took them, cut them up, and
       threw them away.                                      threw them away.


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                                                  INTERVIEW WITH VALENTIN VILLANUEVA FERNANDEZ
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 Q:     That same day or a different day?           Q:      That same day or a different day?
 Q1:    ¿E- ese mismo día o otro día?               Q1:     Th- that same day or another day?
 A:     Otro día.                                   A:      Another day.
 Q1:    Another day.                                Q1:     Another day.
 Q:     And, uh, how did you hear about this,       Q:      And, uh, how did you hear about this,
        uh, from other - somebody else?                     uh, from other - somebody else?
 Q1:    ¿Cómo supiste de esto? ¿Por alguien         Q1:     How did you find out about this?
        más?                                                Through someone else?
 A:     Uh, ¿cómo esto?                             A:      Uh, what do you mean, this?
 Q1:    Uh, what do you mean...                     Q1:     Uh, what do you mean...
 Q2:    What...                                     Q2:     What...
 Q1:    ...about this?                              Q1:     ...about this?
 A:     Uh…                                         A:      Uh…
 Q:     Did you - did you, uh, did you hear         Q:      Did you - did you, uh, did you hear
        about this from somebody or did you                 about this from somebody or did you
        see this? About the - how’d you know                see this? About the - how’d you know
        about the food inspector coming and                 about the food inspector coming and
        all that? How’d you know about all                  all that? How’d you know about all
        that?                                               that?
 Q1:    Oh, ¿al- alguien te dijo o tú - tú - tú     Q1:     Oh, did so- someone tell you or did
        viste sobre -- có- cómo sup-- cómo                  you - you - you see about -- ho- how
        pudiste saber de lo del - del - del                 did you fi-- how were you able to find
        inspector?                                          out about the - the - the inspector
                                                            thing?
 A:     Porque llegaba allí y - y a veces, yo       A:      Because she would come there and -
        me quedaba solo en la cocina.                       and sometimes, I was alone in the
                                                            kitchen.
 Q1:    Because, uh, he would get there and         Q1:     Because, uh, he would get there and
        sometimes I would stay by myself in                 sometimes I would stay by myself in
        the kitchen.                                        the kitchen.
 Q:     Oh, so you’d see it?                        Q:      Oh, so you’d see it?
 Q1:    ¿Tú - tú lo veías?                          Q1:     Did you - you see it?
 A:     Sí.                                         A:      Yes.
 Q1:    Yes.                                        Q1:     Yes.
 Q:     Okay, that’s what I was gettin’ at.         Q:      Okay, that’s what I was gettin’ at.
        Okay, very good.                                    Okay, very good.


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transcription.
Signed________________________________________________________________________




                                                                                  TRANSCRIPT-21
